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Case 1:10-cv-00210-PLF Document 16 Filed 07/08/10 Page 17 of 19
                                    John Morgan
                   Case 1:10-cv-00210-PLF        Individually
                                           Document            and in his
                                                    16 Filed 07/08/10 PageOfficial
                                                                           18 of 19Capacity with
                                    Horry County
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 01:10-CV-OQ210

                                                    PROOF OF SERVICE
                     (This sectam should not befiled with the court unless required by Fed. R. Civ. P.

           This Summons for (name of individual and titla-                              . <\                          gVXfc9-/
 was received by me on (date)

                 personally served the sum mons on the individual at (place)           TfaQ t f / U J>/; Sdlf? 7               (_


           CJ I left the summons at the individual's residence or usual place of abode with (mane)
                                                                . a person of suitable age and discretion who resides there.
           on (date)                               , and mailed a copy to the individual's last known address; or

           iSf I served the summons on (name of individual)                 **-- iC^N^o                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                   O11 i date/


           !~l I returned the summons unexecuted because                                                                            ; or

           C3 Other (specify):




            My fees are $                           for travel and $                 for services, for a total of $       0.00


            I declare under penalty of perjury that this information is true.


 Date:
                                                                                           ^CTTCT-'S signature


                                                                                         Printed name and Me




                                                                                     .w> ej. /%//P fiuf.l
                                                                                            Server's address                   '

  Additional information regarding attempted service, etc:
                   Case 1:10-cv-00210-PLF
                   John                   Document
                         Weaver Individually and in16hisFiled 07/08/10
                                                          official     Page 19
                                                                   capacity forofHorry
                                                                                  19   County.
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 01:1G-CV-OG2iG

                                                   PROOF OF SERVICE
                     (This section should not beJUed with the court unless required by Fed. K Civ. P. 4 (I)}

           This Summons for (name of individual and title, if any)
 was received by me on (date)


           Sr I personally served the summons on the individual at (place) fj>(3} <?               C\i^ . C QAJLLfcl/' V ^f              (2/£
               jaw COcaKi.......                                                   onf*^, 7-£•-J<5ji? ,^
               I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

               I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                   on (date)                             ; or

               I returned the summons unexecuted because                                                                               ;or

               Other




            My fees are $                           for travel and $                 for services, for a total of $             o.OO


            I declare under penalty of perjury that this information is true.


                        w
 Date:       f - ^



                                                                                        Printed name and title




                                                                                                                                  '    ~)tf £~nQ

 Additional information regarding attempted service, etc:


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                     j
                                                                                      91 Hiw^ 2-inroi
